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               EXHIBIT 5
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          ACKER WOOD                                            Gwen R. Acker Wood, PhD, Esq." President
                                                                Anthony H. Handal, Esq., Of Counsel
INTELLECTUAL PROPERTY LAW, LLC
                                                                               Exhibit 5
                   IP   Assets Protection
    C       "tt,
     February 9,2022



     VIA CERTIFIED MAIL        -   RETURN SERVICE REQUESTED AND EMAIL
     (dhvman@netflix.coml
     Netflix, Inc.
     David Hyman, Chief Legal Officer
     100 Winchester Circle
     Los Gatos, CA 95032
     dhyman@netflix.com



     RE:    Unauthorized Use of Copvrishted Artwork "Ouarantine 2020"


     Dear Mr. Hyman:

     This firm represents Molly Cramer, popular tattoo artist and owner of Petals and Paint Tattoo
     Parlor in connection with her intellectual property matters. It has come to our attention that Netflix,
     Inc. ("Netflix") has published and displayed our client's artwork without her authorization, namely
     a tattoo likeness of Joe Exotic (Joe Exotic's authorization to use his likeness for the Subject
     Artwork is attached hereto as Exhibit A), titled "Quarantine 2020" ("Subject Artwork"), in the
     streaming series "Tiger King" in its second season, episode 1 and in the trailer for the second
     season of "Tiger King" ("the Tiger King Episode and Trailer"), which infringes on our client's
     rights in her proprietary and copyrighted artwork. (The Subject Artwork at issue is attached hereto
     as Exhibit B). Specifically, the Subject Artwork is shown about sixty seconds into the Tiger King
     Episode and Trailer for about 3.0 seconds.

     The Subject Artwork is protected under United States Copyright Registration No. VA-2285904,
     registration date January 11,2022. Under United States copyright law, our client's copyright to
     the Subject Artwork has been in legal effect since April 5,2020, the date that our client created
     the Subject Artwork in a tangible medium.

     Under 17 U.S.C. $$ 106 & 501, Netflix's unauthorized publication and display of the Subject
     Artwork violate the United States Copyright Act, our client's rights, and subjects Netflix to
     liability for copyright infringement. To succeed on her copyright infringement claim, our client



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will "show ownership of the allegedly infringed material and ...            demonstrate that the alleged
infringers violate at least one exclusive right granted to copyright holders;" see l7 U.S.C. $ 501(a)
(infringement occurs when alleged infringer engages in the activity listed in $ 106). These rights
include "the right to reproduce or distribute the material, and the right to prepare derivative works
from the Subject material." l7 U.S.C. g 106(l)-(3). Another is rhe exclusive right to "display the
Subject work publicly." l7 U.S.C. $ 106(5). It is clear that our client owns the material at issue,
and that Netflix, and/or its vendors and/or affiliates, unlawfully distributed and publicly displayed
copies of her work on the Tiger King Episode and Trailer without our client's permission. There
is little doubt that our client will prevail at trial should you force litigation of this case.

In addition, under l7 U.S.C. $ 504(b) "[t]he copyright owner is entitled to recover the actual
damages suffered ... as a result of the infringement, and any profits of the infringer that are
attributable to the infringement and are not taken into account in computing the actual damages.
ln establishing the infringer's profits, the copyright owner is required to present proof only of the
infringer's gross revenue, and the infringer is required to prove his or her deductible expenses and
the elements of profit attributable to factors other than the Subject work." We contend that Joe
Exotic's likeness depicted in the Subject Artwork, which is shown in the first minute of the Tiger
King Episode and Trailer not only contributes to viewers' interest in watching this episode, but the
Subject Artwork substantially contributes to the intrigue and mystique of the entire Tiger King
second season, and thus to the gross revenue reaped by Netflix lrom the streaming of the Tiger
King Episode and Trailer.
According to our research, Netflix had a gross profit ofover three billion dollars in the last quarter
of2021, oroverone billion dollars a month, and about 200 million subscribers. Inthe first twenty-
eight days of streaming the Tiger King Episode and Trailer it was viewed by over 64 million
households. If each household is considered a Netflix subscriber, this computes to over three
hundred million dollars ($300,000,000.00) for one month's viewing. We intend to seek damages
for the gross revenue reaped by Netflix attributed to the Tiger King Episode and Trailer in which
the Subject Artwork was used without our client's authorization.

Accordingly, to settle this matter expeditiously, we demand that Netflix ( I ) immediately cease and
desist all use of the Subject Artwork, including but not limited to deleting the Subject Artwork in
its entirety from the Tiger King Episode and Trailer; (2) provide the source from which Netflix
obtained the Subject Artwork, including, without limitation, any documents purporting to assign,
license, or transfer any rights in or to use the Subject Artwork; and (3) remit a settlement payment
in the amount of ten million dollars ($ 10,000,000.00) via cashier's check, made payable to the
undersigned, within fifteen (15) days from the receipt of this letter to the undersigned's address
shown below.

We hope that this matter can be settled expeditiously to avoid the filing ofa copyright infringement
comnlaint in federal court bv our client asainst Netflix.




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This is not a full recitation of all outstanding facts and legal issues, and nothing in this letter is
meant to or should be construed to waive or limit any rights, claims, or remedies.

                       Sincergly,



                       Gwen R. Acker Wood, PhD, Esq
                       ACKER WOOD INTELLECTUAL PROPERTY LAW LLC
                       4981 Mclkight Road, P.O. Box 11096
                       Direct: (412) 486-1038

                       Email: grwood@ackerwoodiplaw.com




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